                                          CIVIL
             Case 0:20-cv-61321-WPD Document
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017   1-3 COVER
                                                 EnteredSHEET
                                                        on FLSD Docket 07/01/2020 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS DAVID “RYAN” MCCAIGUE, an individual                                                    DEFENDANTS DOENCH WEALTH MANAGEMENT, LLC;
                                                                                                                         and BRIAN H. DOENCH, an individual

   (b) County of Residence of First Listed Plaintiff Broward County, FL                                       County of Residence of First Listed Defendant             Albemarle County, VA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
   David C. Silver, Esq., Silver Miller,
   11780 W. Sample Rd., Coral Springs, FL 33065; (954) 516-6000
(d) Check County Where Action Arose:                MIAMI- DADE         MONROE     ✔ BROWARD        PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
    1    U.S. Government                  3                 Federal Question                                                     PTF          DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State         ✔1              1     Incorporated or Principal Place          4      4
                                                                                                                                                       of Business In This State

    2    U.S. Government               ✔4                      Diversity                           Citizen of Another State             2      ✔   2   Incorporated and Principal Place          5          5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                   Citizen or Subject of a              3          3   Foreign Nation                            6          6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                     365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                 Product Liability        690 Other                                  28 USC 157                       3729 (a))
  140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                       400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                 Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’               Product Liability                                               830 Patent                         450 Commerce
  152 Recovery of Defaulted                  Liability                   368 Asbestos Personal                                               835 Patent – Abbreviated           460 Deportation
                                                                                                                                             New Drug Application
      Student Loans                     340 Marine                           Injury Product                                                  840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                  345 Marine Product                   Liability                         LABOR                           SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment                Liability                  PERSONAL PROPERTY             710 Fair Labor Standards               861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle                370 Other Fraud                  Act                                862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle                371 Truth in Lending         720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability          ✘ 380 Other Personal           740 Railway Labor Act                  864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                   Property Damage          751 Family and Medical                 865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                       385 Property Damage              Leave Act                                                             891 Agricultural Acts
                                        362 Personal Injury -                Product Liability        790 Other Labor Litigation                                                893 Environmental Matters
                                            Med. Malpractice                                          791 Empl. Ret. Inc.                                                       895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS                 Security Act                        FEDERAL TAX SUITS                 Act
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                                                      870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                       463 Alien Detainee                                                      or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                               871 IRS—Third Party 26             Act/Review or Appeal of
                                                                         Sentence                                                            USC 7609
    240 Torts to Land                   443 Housing/                        Other:                                                                                              Agency Decision
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -       530 General                      IMMIGRATION                                                           950 Constitutionality of State
                                                                                                                                                                                Statutes
    290 All Other Real Property             Employment                   535 Death Penalty            462 Naturalization Application
                                        446 Amer. w/Disabilities -       540 Mandamus & Other         465 Other Immigration
                                            Other                        550 Civil Rights                 Actions
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee –
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
                                                                                           Transferred from           6 Multidistrict
✔ 1 Proceeding
    Original               2 Removed         3 Re-filed          4 Reinstated          5                                                      7 Appeal to               8 Multidistrict
                             from State        (See VI             or                      another district           Litigation
                                                                                                                                                District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                            Appellate Court
                             Court             below)              Reopened                (specify)                  Transfer
                                                                                                                                                from Magistrate           – Direct
                                                                                                                                                Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES ✔ NO               b) Related Cases             YES ✔ NO
RE-FILED CASE(S)                                          JUDGE:                                                                                 DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 U.S.C. § 1332 -- (1) Breach of Fiduciary Duty; (2) Negligence/Gross Negligence
                                          LENGTH OF TRIAL via 3                 days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                      DEMAND $ 200,000.00                          CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                                                                 JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         July 1, 2020                                                              /s/ David C. Silver, Esq.
FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                     IFP                    JUDGE                                       MAG JUDGE
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.
       (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
